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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


   DANIEL D’AMBLY,                              CIVIL ACTION NO.: 2:20-cv-12880

                   Plaintiff,                   JOHN MICHAEL VAZQUEZ, U.S.D.J.

          vs.                                   NOTICE OF MOTION FOR AN EXPEDITED
                                                ORDER TO SHOW CAUSE RE:
   CHRISTIAN EXOO a/k/a @ANTIFASH
   GORDON; et al.,                               TO COMPEL ONE PEOPLE’S PROJECT TO
                                                 COMPLY WITH SUBPOENA TO PRODUCE
                   Defendants.                         DOCUMENTS, THINGS, AND
                                                       ELECTRONICALLY STORED
                                                      INFORMATION IDENTIFIED IN
                                                 PLAINTIFF’S SUBPOENA DUCES TECUM
                                                   AND FOR AN EXPEDITED ORDER TO
                                                    SHOW CAUSE WHY ONE PEOPLE’S
                                                   PROJECT SHOULD NOT BE HELD IN
                                                  CONTEMPT FOR FAILING TO COMPLY
                                                           WITH SUBPOENA

  TO:    One People’s Project
         383 Hillcrest Avenue
         Somerset, New Jersey 08873

         NOTICE IS GIVEN that on May 15, 2023, at 9:00 a.m., or as soon thereafter as counsel

  may be heard, the undersigned shall apply to the United States District Court, District of New

  Jersey, Martin Luther King Building & U.S. Courthouse, 50 Walnut Street, Newark, New Jersey

  07102 for an Order pursuant to Rule 45 of the Federal Rules of Civil Procedure compelling One

  People’s Project to comply with the subpoena duces tecum that was duly served on them on May

  16, 2022, and May 23, 2022.



  April 12, 2023                       /s/ Patrick Trainor
                                       ____________________________________
                                       Patrick Trainor, Esq.
                                       THE LAW OFFICE OF PATRICK TRAINOR, ESQ., LLC
                                       19 Union Avenue, Suite 201
                                       Rutherford, New Jersey 07070
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                               P: (201) 777-3327
                               F: (201) 896-7815
                               pt@ptesq.com
                               Attorney for Plaintiffs
